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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK
               ______________________
TRAVIS WELCH,
                           Plaintiff,                             NOTICE OF
                                                                  DEFENDANTS’ MOTION
                                                                  IN LIMINE



        v.                                                        Case No. 16-cv-6520

CITY OF ROCHESTER, ROCHESTER POLICE
DEPARTMENT, ROCHESTER POLICE OFFICER
PATRICK GIANCURSIO, ROCHESTER POLICE
OFFICER WILLIAM WAGNER, AND
OTHER UNNAMED OFFICERS

                                  Defendants.
                _________________________


        Defendants, move this Court for a Motion for Limine, together with such other and

further relief as is proper.


        In support of this motion the Court is referred to the Memorandum of Law submitted herewith

and made part of this motion.


DATED: January 29, 2018
                                            BRIAN F. CURRAN
                                            CORPORATION COUNSEL

                                            s/Spencer L. Ash
                                            _______________________________
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